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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

v.                                                       Case No. 07-CR-20076-16

MARLIN MORTON,
         Defendant.
                                                   /

                      ORDER DENYING MOTION FOR
            REINSTATEMENT OF CONDITIONS OF PRETRIAL RELEASE


       Defendant, through counsel, has filed a second motion to reinstate conditions of

pretrial release. In his earlier motion seeking pretrial release, he failed to indicate

whether or not the contemplated relief would be agreed to by the government, see

Eastern District Local Rule 7.1(a). Defendant now avers that he has consulted with

government counsel, A.U.S.A. Noceeba Gordon, and that she has no objection to

Defendant’s requested relief.

       Defendant’s bond was cancelled for repeated failures to abide by conditions and

restrictions of home monitoring, including returning 45 minutes past deadline on March

11 and March 24, 2007, and being absent from the residence from 1:09 a.m. until 1:52

a.m. and from 2:46 a.m. until 3:56 a.m. on March 25, 2007. On March 29, Defendant

was admonished by Pretrial Services that he was in violation as specified above, yet

only a few days later, on April 1, 2007, Defendant was absent from 10:36 p.m. until 4:04

a.m. the next morning. Again, on April 6, 2007, Defendant was absent from 8:37 p.m.

until 9:14 p.m. and from 10:08 p.m. until 2:23 a.m. the next day.
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       In Defendant’s motion he argues that he “admits some of the violations” –not

revealing which ones– but “verily submits” that there were “problems with the tethering

system.” D’s. Mtn., unnumbered p. 2. Pretrial Services, he argues, has “suggested that

this system had intentionally been unplugged, but Mr. Morton vehemently contest [sic]

this allegation.” Id. He further argues that there were times, unspecified, that he was “on

his property, and within the proscribed [sic] range of the system, yet he learned later

that the system indicated he was outside of its range.” Id.

       All of these contentions are mere argument, supported by no facts, and are

unpersuasive. Not only does Defendant fail to indicate which of the violations (or

“dalliances,” as he phrases them) were accurately recorded, none of his argument

about “problems” with the system are explained in any way, nor is there any indication

how the tethering system could possibly indicate a person being out of its range while

the person tethered is still on his residential property. The court cannot imagine how a

system that accurately records a Defendant’s “dalliances” on some occasions could

simultaneously have “problems” leading to false indications of other “dalliances.”

Defendant’s brief is of no assistance in clearing up this mystery for the court.

       The court, rather, continues in its earlier belief, based upon the specificity of the

Pretrial Services report, that Defendant was repeatedly out and about in the community

in the wee hours of the morning, for no legitimate reason, when he was supposed to

have been at his residence. In spite of the government’s apparent agreement with the

objects of this motion, nothing presented here changes the court’s opinion in the least.1


       1
       The court takes into account that Defendant submitted a form purporting to be a
business property lease related to a car wash business Defendant avers that he has
begun.

                                              2
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No condition or combination of conditions are available to the court that would assure

the safety of the community and assure the court that Defendant would attend future

sessions of court while committing no additional crimes in the meanwhile. Accordingly,

          IT IS ORDERED that Defendant’s motion for reinstatement of conditions of

pretrial release [dkt # 119] is DENIED.


                                                                     S/Robert H. Cleland
                                                                    ROBERT H. CLELAND
                                                                    UNITED STATES DISTRICT JUDGE
Dated: July 23, 2007

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, July 23, 2007, by electronic and/or ordinary mail.

                                                                     S/Lisa Wagner
                                                                    Case Manager and Deputy Clerk
                                                                    (313) 234-5522




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